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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


 CHRISTOPHER W. FARABEE,

                                       Plaintiff,

 vs.                                                    Case No. 2:17-cv-02528-JAR-GEB

 PERFECTION COLLECTION LLC, TRANS
 UNION, LLC AND EXPERIAN
 INFORMATION SOLUTIONS INC.,

                                       Defendants.


       NOTICE OF VOLUNTARY DISMISSAL OF COUNT II WITHOUT PREJUDICE

         Plaintiff Christopher Farabee (“Plaintiff”), through undersigned counsel and pursuant to

Fed. R. Civ. P. 41(a), notifies the Court that Plaintiff voluntarily dismisses Count II of the

Complaint (Doc. 1-1) which alleged violations of the federal Fair Credit Reporting Act against

Defendant Perfection Collection LLC (“Defendant”) only. Plaintiff further states:

         1.     In this Complaint Plaintiff has alleged that Defendant violated the federal Fair

Credit Reporting Act, 15 U.S.C. § 1681 et seq. (“FCRA”) by failing to conduct a reasonable

investigation into Plaintiff’s dispute regarding a debt collection account that was not owed by

Plaintiff.

         2.     On May 14, 2018 Plaintiff moved for default judgment against Defendant

Perfection Collection, solely on the claim for violations of the federal Fair Debt Collection

Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”). Plaintiff did not move for judgment on his

claims under the FCRA.

         3.     On July 5, 2018 the Court issued an Order to Show Cause (Doc. 56) why the FCRA



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claim against Defendant should not be dismissed with prejudice.

         4.     Upon review of the procedural posture of this case, mindful of the benefits of

continuing to litigate an FCRA claim and in the interests of limiting unnecessary increases to

attorneys’ fees and costs, Plaintiff has concluded that he wants to voluntarily dismiss his claims

under the FCRA. Concurrent to the filing of Plaintiff’s Response to the Show Cause Order,

Plaintiff notifies the Court that he is dismissing his claims under the FCRA.

         5.     Defendant will not be prejudiced by the voluntary dismissal, as Defendant has not

answered or filed a motion for summary judgment, and has made no effort to defend this action.

         6.     This notice of voluntary dismissal is not made with improper motive, or in bad

faith.

         ACCORDINGLY, Plaintiff respectfully notifies the Court of the voluntary dismissal of

Count II of the Complaint.

                                                     Respectfully submitted,

                                                     By: /s/ Matthew S. Robertson
                                                     A.J. Stecklein               #16330
                                                     Michael Rapp                 #25702
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                                                     Attorneys for Plaintiff




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                              CERTIFICATE OF FILING

      I hereby certify that the foregoing document was filed electronically with the United
States District Court for the District of Kansas’s ECF filing system on July 16, 2018, which
will automatically generate notice of filing to all counsel of record.

     I further certify that a copy of the foregoing document was served on Defendant
Perfection Collection LLC by U.S. Mail, addressed to:

Perfection Collection LLC
RA: Brian Scott Fuller
313 E. 1200 S., Suite 102
Orem, Utah 84058

                                                 /s/ Matthew S. Robertson
                                                 Attorney for Plaintiff




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